Case 2:19-cv-04695-DMG-AGR Document 66 Filed 11/25/20 Page 1 of 2 Page ID #:334




   1
                                                                      JS-5
   2
   3
   4
   5
   6
   7
                           UNITED STATES DISTRICT COURT
   8
                          CENTRAL DISTRICT OF CALIFORNIA
   9
  10
       ROSE DIAZ; and DIMAS DIAZ,                 )   Case No.: CV 19-4695-DMG (AGRx)
  11   individually; EDITH DIAZ, JESSE            )
       DIAZ; DAVID CHASE and D.A.D., a            )   AMENDED ORDER GRANTING
  12   minor by and through her guardian ad       )   DEFENDANTS COUNTY OF
       litem Alexis Marie Olivarez,               )   VENTURA AND NOEL JUAREZ’S
  13   individually and as co-successors-in-      )   APPLICATION FOR GOOD FAITH
       interest to Decedent DIMAS DIAZ JR.,       )   SETTLEMENT DETERMINATION
  14                                              )   [62]
                      Plaintiffs,                 )
  15                                              )
              vs.                                 )
  16                                              )
       COUNTY OF VENTURA, a municipal )
  17   corporation; NOEL JUAREZ,                  )
       individually and in his official capacity )
  18   as a sheriff’s deputy for the Ventura      )
       County Sheriff’s Department and DOES )
  19   1-50, inclusive, individually and in their )
       official capacities as agents for the      )
  20   Ventura County Sheriff’s Department; )
       and BRIAN GREEN, individually and )
  21   in his official capacity as California     )
       Highway Patrol Officer for the             )
  22   California Highway Patrol and DOES )
       51-65, inclusive, individually and in      )
  23   their official capacities as California    )
       Highway Patrol Officers,                   )
  24                                              )
                      Defendants.                 )
  25                                              )
                                                  )
  26
  27
  28


                                                 1
Case 2:19-cv-04695-DMG-AGR Document 66 Filed 11/25/20 Page 2 of 2 Page ID #:335




   1         The Court has reviewed and considered the motion of Defendants County
   2   of Ventura and Noel Juarez for good faith settlement determination. For good
   3   cause shown,
   4         IT IS HEREBY ORDERED that the consideration of $800,000 paid to
   5   Plaintiffs by or on behalf of Defendants County of Ventura and Noel Juarez,
   6   constitutes and is found to be a good faith settlement; and
   7         IT IS HEREBY ORDERED that the above-captioned action against
   8   Defendants County of Ventura and Noel Juarez is hereby dismissed with
   9   prejudice, and without costs, all costs having been fully paid, and the causes
  10   against Defendants County of Ventura and Noel Juarez, having been fully
  11   compromised and settled.
  12         This action shall proceed as to remaining Defendant Brian Green.
  13   IT IS SO ORDERED.
  14
  15   DATED: November 25, 2020               _______________________________
  16                                          DOLLY M. GEE
                                              UNITED STATES DISTRICT JUDGE
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28


                                                2
